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 1   DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
 2   117 J Street, Suite 202
     Sacramento, California 95814
 3   916-447-1193
 4   Attorney for Defendant
     DOUGLAS FROST
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )
                                     )                NO. 2:06-cr-0222 MCE
13              Plaintiff,           )
                                     )                STIPULATION AND
14        v.                         )                PROPOSED ORDER
                                     )
15   DOUGLAS FROST,                  )
                                     )
16              Defendant.           )
     ________________________________)
17
18          Defendant, through counsel, and the United States of America, through Assistant U.S.
19   Attorney Phil Ferrari, agree that the Status Conference set for October 3, 2006 at 8:30 am be
20   continued to October 10, 2006 at 8:30 am.
21          In addition, it is agreed that the court should find excludable time from the date of the
22   last proceeding, pursuant to local rule T-2.
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24   ///
25   ///
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27   ///
28   ///

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             Case 2:06-cr-00222-MCE Document 27 Filed 10/12/06 Page 2 of 2


 1   Respectfully submitted,
 2
 3
 4   DATED: October 2, 2006             _/S/__________________
                                        DWIGHT M. SAMUEL
 5                                      Attorney for Defendant
                                        Douglas Frost
 6
 7
 8
     DATED: October 2, 2006
 9                                      __________/S/___________________________
                                        Phil Ferrari
10                                      Assistant United States Attorney
                                        (Signed per Telephonic authorization)
11
12
13
           IT IS SO ORDERED.
14
     DATED: October 12, 2006
15
16
17                                         ___________________________________
18                                         MORRISON C. ENGLAND, JR
                                           UNITED STATES DISTRICT JUDGE
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